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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

  KELLY ARNDT and SHIRLEY SILKISS,
  individually and o/b/o all others similarly
  situated,
                                                                 Class Action
           Plaintiffs,
                                                                 CASE NO.:
  v.

  TWENTY-ONE EIGHTY-FIVE, LLC,
  a Delaware limited liability company,
  and STATE FARM BANK, F.S.B.,
  a federal savings bank,

        Defendants.
  _____________________________________/

                              DEFENDANTS’ NOTICE OF REMOVAL

           Defendants, Twenty-One Eighty-Five, LLC (“2185”), and State Farm Bank, F.S.B. (“State

  Farm Bank,” and collectively with 2185, “Defendants”), pursuant to the Class Action Fairness Act

  (“CAFA”), 28 U.S.C. § 1332(d) and 28 U.S.C. § 1453, as well as 28 U.S.C. §§ 1441 and 1446,

  hereby removes to this Court the state court action described below.

                                Background and Plaintiffs’ Allegations

           1.      This action was filed on October 11, 2019 in the Circuit Court of the Seventeenth

  Judicial Circuit in and for Broward County, Florida as Kelly Arndt and Shirley Silkiss v. Twenty-

  One Eighty-Five, LLC and State Farm Bank, F.S.B., Case No. CACE19021264 (Fla. 17th Jud’l

  Cir.) (the “State Court Action”).

           2.      Plaintiffs filed the State Court Action on behalf of themselves and Florida residents

  (the “Putative Class”) who allegedly: (a) entered into finance agreements for the purchase of new

  and used motor vehicles (the “Finance Agreements”), which were held and/or serviced by State

  Farm Bank; (b) had their personal property repossessed by State Farm Bank or its agents; (c) were


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  sent a certain post-repossession notice; and (d) have not obtained a discharge in bankruptcy

  applicable to any Finance Agreement. Plaintiffs also filed the State Court Action on behalf of

  themselves and a “subclass” (the “Putative Subclass”) from whom State Farm Bank also allegedly

  pursued post-repossession deficiencies.

           3.    Plaintiffs claim that the post-repossession notices sent to the Putative Class fail to

  comply with Article 9 of the Uniform Commercial Code (the “UCC”) in various respects. As a

  result, Plaintiffs also claim that State Farm’s collection or attempted collection of deficiencies from

  the Putative Subclass failed to comply with Article 9 of the UCC as well as the Florida Consumer

  Collection Practices Act (the “FCCPA”).

           4.    Based on these theories, Plaintiffs assert four claims: (a) class-wide violation of

  UCC Article 9, against 2185 only (Count I) (Compl. ¶¶ 58-64); (b) class-wide declaratory relief

  (Count II) (Compl. ¶¶ 65-68); (c) class-wide unjust enrichment (Count III) (Compl. ¶¶ 69-72); and

  (d) subclass-wide violation of the FCCPA (Count IV) (Compl. ¶¶ 73-81).

           5.    Plaintiffs seek the following relief, which requests are set forth separately from the

  claims on pages 16 and 17 of the Complaint: (a) “an order certifying this claim as a class action”;

  (b) “an order finding and declaring the acts and practices as challenged [in the Complaint] are

  unlawful, unfair and deceptive”; (c) “an order finding and declaring that Plaintiffs and the class

  members do not owe [2185] any of the deficiency balances purportedly owed following disposition

  of their vehicles”; (d) “an order preliminarily and permanently enjoining Defendants from

  engaging in the practices challenged [in the Complaint]”; (e) “an order of restitution and/or

  disgorgement in an amount to be determined at trial, which amount is at least equal to all sums

  collected by Defendants for alleged deficiency balances following the disposition of repossessed

  motor vehicles”; (f) statutory damages against 2185 “for each class member in the amount of either



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  the credit service charge plus ten percent of the principal amount of the obligation or the time-

  price differential plus ten percent of the case price, whichever is greater”; (g) statutory and actual

  damages against the Defendants for the Putative Subclass pursuant to the FCCPA; (h) “an order

  requiring Defendants to remove any adverse credit information which State Farm Bank previously

  reported to credit reporting organizations” on the deficiencies; (i) pre-judgment interest; (j)

  attorneys’ fees, costs and expenses; and (k) “such other and further relief as the Court may deem

  just and proper.” (Compl. pp. 16-17.)

           6.    Pursuant to 28 U.S.C. § 1446(a), Defendants have attached: (a) a copy of the

  Complaint for Damages and Incidental Relief (the “Complaint”) filed in the State Court Action as

  Exhibit 1; and a copy of all other process and pleadings served on any of the Defendants in the

  State Court Action as Composite Exhibit 2. A true and correct copy of this Notice of Removal

  will be filed with the Clerk of the Circuit Court of the Seventeenth Judicial Circuit in and for

  Broward County, Florida, in accordance with the provisions of 28 U.S.C. § 1446(d), along with a

  Notice of the filing, a copy of which will be served upon all parties.

           7.    2185 was served with the Complaint on October 25, 2019, at which time State Farm

  Bank had not yet been formally served. Thus, this Notice of Removal is timely filed in accordance

  with 28 U.S.C. § 1446.

                   This Court Has Jurisdiction Over This Action Under CAFA

           8.    The State Court Action is removable to this Court, and this Court has jurisdiction

  over this action, under CAFA, 28 U.S.C. § 1332, 28 U.S.C. § 1441(a) and (b), and 28 U.S.C. §

  1453, because this is a putative class action with more than 100 putative class members that are

  seeking to recover in excess of $5 million in the aggregate, and there is minimal diversity.




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           9.      Plaintiffs seek to bring this action on their own behalves and on behalf of the

  Putative Class comprised of:

           [A]ll Florida residents who, in the four (4) years preceding the filing of the instant
           action to the date hereof:

                  (a)    have or had a finance agreement (“Finance Agreement”) held by
           State Farm Bank;

                  (b)    had their motor vehicle and other personal property repossessed by
           State Farm Bank or its agents;

                   (c)     were sent a post-repossession notice in the form or substantially
           similar form as the Notice of Sale, or in the case of a co-obligor were not sent
           notices in the form of Exhibits “B”); and

                  (d)    who have not obtained a discharge in bankruptcy applicable to any
           such Finance Agreement.

  (Compl. ¶ 34).

           10.     Plaintiffs also seek to bring this action on their own behalves and on behalf of the

  Putative Subclass comprised of:

           [A]ll [Putative Class] members who meet all of the requirements of the class
           definition contained above, and who were sent a Deficiency Collection Notice in
           the form of Exhibit “C” (or in the case of a co-obligor were not sent a notice) and
           have been subjected to collection for a deficiency.

  (Compl. ¶ 35).

           11.     The Complaint seeks to certify a class pursuant to Fla. R. Civ. P. 1.220(b)(2) and

  (b)(3). (Compl. ¶ 36).

           12.     CAFA reflects Congress’s intent to have federal courts adjudicate substantial class

  action suits brought against out-of-state defendants. Toward that end, CAFA expressly provides

  that class actions filed in state court are removable to federal court. CAFA expands federal

  jurisdiction over class actions by amending 28 U.S.C. § 1332 to grant original jurisdiction where

  the putative class contains at least 100 class members; and any member of the putative class is a


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  citizen of a State different from that of any defendant; and the amount in controversy exceeds $5

  million in the aggregate for the entire class, exclusive of interest and costs. 28 U.S.C. § 1332(d).

           13.   This suit satisfies all the requirements under CAFA for federal jurisdiction: (1) the

  putative class exceeds 100; (2) the members of the Putative Class have a different citizenship from

  Defendants; (3) the amount in controversy exceeds $5 million; and (4) the exceptions to CAFA do

  not apply here. See 28 U.S.C. § 1332(d).

           A.    The Putative Class Exceeds 100

           14.   CAFA requires that the class consist of at least 100 persons. 28 U.S.C. § 1332(d)(5).

           15.   That requirement is clearly met here. While Plaintiffs do not identify the number

  of Putative Class members in their Complaint, Plaintiffs allege, “[b]ased on the best due diligence

  and the experience of Class Counsel,” that they “believe that State Farm Bank repossessed over

  seventy-five (75) vehicles and other personal property in a calendar year in the State of Florida.”

  (Compl. ¶ 43). Thus, Plaintiffs conclude that “the prospective class numbers are at least in the

  hundreds . . . .” (Compl. ¶ 44). Further, a review of Defendants’ business records indicates that

  State Farm Bank, either on its own behalf or as servicer for 2185, repossessed approximately 1,713

  motor vehicles in Florida during the approximately four-year period beginning October 11, 2015.

  (Exhibit 3, Declaration of Melissa Kahn (the “Declaration”) ¶¶ 2-3). Accordingly, it is clear that

  there will be in excess of 100 class members likely implicated in the Putative Class asserted by the

  Plaintiffs in the Complaint.

           B.    There is Minimal Diversity Sufficient to Establish CAFA Jurisdiction.

           16.   The second CAFA requirement is at least minimal diversity—at least one putative

  class member must be a citizen of a different state than any one defendant. 28 U.S.C. § 1332(d)(2).




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           17.    On information and belief and as set forth in the Complaint, Plaintiffs are now, and

  were at the time of the filing of the Complaint, and at all times intervening, citizens of Florida.

  (Compl. ¶¶ 5-6). As set forth in the Complaint, Plaintiffs are “sui juris.” (Id.)

           18.    State Farm Bank is now, and was at the time of filing the Complaint, and at all

  times intervening, a federal savings association with its home office in Bloomington, Illinois.

  (Compl. ¶ 7). Therefore, for purposes of diversity, State Farm Bank is a citizen of Illinois. See 12

  U.S.C. § 1464(x); see also State Farm Bank F.S.B. v. Reardon, 539 F.3d 336, 339 (6th Cir. 2008)

  (“State Farm Bank is a wholly owned subsidiary of State Farm Mutual Automobile Insurance

  Company (‘State Farm Mutual’) and is headquartered in Bloomington, Illinois.”); State Farm

  Bank, F.S.B. v. Sloan, No. 11-cv-10385, 2011 WL 2144227, *1 (E.D. Mich. May 31, 2011)

  (finding State Farm Bank to be a citizen of Illinois for purposes of diversity because “its home

  office is located in Bloomington, Illinois”).

           19.    2185 is, and was at the time of filing the Complaint, and at all times intervening, a

  Delaware limited liability company with its principal place of business in Bloomington, Illinois.

  For purposes of determining diversity of citizenship, a limited liability company is deemed to be

  a citizen of each state of which any of its members is a citizen. Rolling Greens MHP, L.P. v.

  Comcast SCH Holdings, LLC, 374 F.3d 1020, 1022 (11th Cir. 2004). 2185 is, and was at the time

  of filing the Complaint, and at all times intervening, a wholly owned subsidiary of State Farm

  Mutual Automobile Insurance Company. State Farm Mutual Automobile Insurance Company is,

  and was at the time of filing the Complaint, and at all times intervening, an Illinois corporation

  with its principal place of business in Illinois. State Farm Mutual Automobile Insurance Company

  is therefore considered to be a citizen of Illinois. See 28 U.S.C. § 1332(c)(1). Thus, 2185 is also

  a citizen of Illinois for purposes of diversity.



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           20.   The Putative Class is comprised of certain “Florida residents.” (Compl. ¶ 34).

           21.   Thus, there is diversity here, as the Plaintiffs (as well as the Putative Class

  members) are citizens of Florida, and State Farm Bank and 2185 are citizens of Illinois. Therefore,

  the second CAFA requirement is met. 28 U.S.C. § 1332(d)(2).

           C.    The CAFA Amount in Controversy Requirement of $5,000,000 Is Met.

           22.   CAFA also requires that the aggregate amount in controversy exceed $5 million for

  the entire Putative Class in the aggregate, exclusive of interest and costs. 28 U.S.C. § 1332(d)(2).

  As the United States Supreme Court has held, Defendants’ notice of removal “need include only

  a plausible allegation that the amount in controversy exceeds the jurisdictional threshold.” Dart

  Cherokee Basin Operating Co., LLC v. Owens, 135 S.Ct. 547, 554 (2014).1 Here, based upon

  Plaintiffs’ allegations and theories (which Defendants dispute, but which control for removal

  purposes), Defendants plausibly allege that the $5 million CAFA amount in controversy

  requirement is satisfied.

           23.   First, Plaintiffs seek declaratory and injunctive relief in the Complaint by making

  the following requests: (a) for “an order finding and declaring that the acts and practices as




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          Defendants must show only that it is “more likely than not” that the amount in controversy
  exceeds the jurisdictional requirement. Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744, 752 (11th
  Cir. 2010); see also South Florida Wellness, Inc. v. Allstate Ins. Co., 745 F.3d 1312, 1315 (11th
  Cir. 2014). To meet that burden, a removing party can provide “specific factual allegations
  establishing jurisdiction and can support them (if challenged by the plaintiff or the court) with
  evidence combined with reasonable deductions, reasonable inferences, or other reasonable
  extrapolations . . . . [A] removing defendant is not required to prove the amount in controversy
  beyond all doubt or to banish all uncertainty about it.” Pretka, 608 F.3d at 754. In meeting this
  burden, the removing party may present “affidavits, declarations, or other documentation.” Id. at
  755 (citations omitted); see also Sierminski v. Transouth Fin. Corp., 216 F.3d 945, 949 (11th Cir.
  2000) (the district court may “require parties to submit summary-judgment-type evidence relevant
  to the amount in controversy at the time of removal”) (citations omitted); Fowler v. Safeco Ins.
  Co. of Am., 915 F.2d 616, 617 (11th Cir. 1990) (“Defendants have the opportunity to submit
  affidavits, depositions, or other evidence to support removal.”).

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  challenged herein are unlawful, unfair and deceptive”; (b) for “an order finding and declaring that

  Plaintiffs and the class members do not owe [2185] any of the deficiency balances purportedly

  owed following the disposition of their vehicles”; and (c) for “an order preliminarily and

  permanently enjoining Defendants from engaging in the practices challenged” in the Complaint.

  (Compl. p. 16) (emphasis added). “When a plaintiff seeks injunctive or declaratory relief, the

  amount in controversy is the monetary value of the object of the litigation from the plaintiff’s

  perspective,” or “the monetary value [that] would accrue to the class plaintiffs upon issuance of

  the prospective injunction [and/or declaration].” Cohen v. Office Depot, Inc., 204 F.3d 1069, 1077

  (11th Cir. 2000) (citation omitted); see also Hartford Ins. Grp. v. Lou-Con Inc., 293 F.3d 908, 910

  (5th Cir. 2002) (amount-in-controversy in an action for declaratory relief is “the value of the right

  to be protected or the extent of the injury to be prevented”). Conversely, the value of declaratory

  or injunctive relief is also “the losses that will follow from” not obtaining the requested relief.

  Hunt v. Wash. State Apple Advertising Comm’n, 432 U.S. 333, 347 (1977).

           24.    Second, Plaintiffs seek “restitution and/or disgorgement . . . which amount is at

  least equal to all sums collected by Defendants for alleged deficiency balances following the

  disposition of repossessed motor vehicles . . . .” (Compl. p. 16).

           25.    Third, Plaintiffs seek “statutory [ ] damages” for the Putative Subclass pursuant to

  section 559.77, Florida Statutes. (Compl. p. 16). Section 559.77(2), Florida Statutes (part of the

  FCCPA), provides in relevant part:

           Any person who fails to comply with any provision of s. 559.72 is liable . . . for
           additional statutory damages as the court may allow, but not exceeding $1,000 . . .
           . In a class action lawsuit brought under this section, the court may award additional
           statutory damages of up to $1,000 for each named plaintiff and an aggregate award
           of additional statutory damages up to the lesser of $500,000 or 1 percent of the
           defendant’s net worth for all remaining class members; however, the aggregate
           award may not provide an individual class member with additional statutory
           damages in excess of $1,000. . . .


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  Fla. Stat. § 559.77(2).

            26.   Based on a review of the Defendants’ business records, and as explained more fully

  in the Declaration, Defendants have demonstrated that the total amount of potential exposure far

  exceeds the $5 million threshold and, indeed, exceeds $13 million, as follows:

                               Damage                                            Amount
   Declaratory/Injunctive Relief                                         $8,850,061
   Restitution/Disgorgement                                              $3,166,386
   FCCPA Statutory Damages                                               $1,681,000

            27.   The amount of the declaratory/injunctive relief reflected above was calculated by

  subtracting the amount of deficiencies recovered during the relevant time period from the total

  amount of deficiencies owed, to arrive at the total amount of deficiencies still due and owing from

  Putative Class members. If Plaintiffs are awarded the declaratory/injunctive relief they are

  requesting, then they will have been successful in obtaining a declaration that the total amount of

  deficiencies still due and owing are, in fact, not due and owing, and an injunction prohibiting

  Defendants from collecting and/or attempting to collect the total amount of deficiencies still due

  and owing. (Compl. p. 16).

            28.   The amount of the restitution/disgorgement damages reflected above was

  calculated by adding the amount of deficiencies recovered during the relevant time period from

  Putative Class members. If Plaintiffs are awarded the restitution/disgorgement damages they are

  requesting, then State Farm will be required to disgorge “all sums collected by Defendants for

  alleged deficiency balances following the disposition of repossessed motor vehicles . . . .” (Compl.

  p. 16).

            29.   The amount of the FCCPA statutory damages reflected above was calculated by

  multiplying the number of repossessions from Putative Class members with a deficiency remaining



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  after sale during the relevant time period (approximately 1,179) by $1,000 (the maximum amount

  of statutory damages awardable under section 559.77(2), Florida Statutes), adding $2,000 (the

  maximum amount of additional statutory damages awardable under section 559.77(2) for each

  named plaintiff in a class action), and adding $500,0002 (the maximum amount of additional

  statutory damages awardable under section 559.77(2) for all remaining class members in a class

  action).

           30.   In addition to the damages otherwise addressed above, it is clear that the claims of

  the Putative Class (likely containing approximately 1,713 members) for damages under UCC

  Article 9 are themselves likely to exceed $5 million, given that the claim of Kelly Arndt, a named

  plaintiff, exceeds $12,000. Section 679.625(3)(b), Florida Statutes (part of UCC Article 9),

  authorizes certain plaintiffs to recover “an amount not less than the credit service charge plus 10

  percent of the principal amount of the obligation or the time-price differential plus 10 percent of

  the cash price” from a secured party that failed to comply with UCC Article 9 if the collateral is

  consumer goods. Fla. Stat. § 679.625(3)(b). The amount of Ms. Arndt’s claim can be calculated

  based on the information in the Arndt Finance Agreement attached as Exhibit A to the Complaint,

  as follows:

             $ 8,029.53 (Credit Service Charge)
           + $ 4,030.24 (10 percent of Principal Amount)
             $12,059.77

           31.   Plaintiffs have also requested an award of attorneys’ fees, including under sections

  57.105(7) and 559.77(2), Florida Statutes (part of the FCCPA). Section 57.105(7), Florida

  Statutes, authorizes a court to allow reasonable attorneys’ fees to the prevailing party in any action



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           The maximum amount of additional statutory damages awardable under section 559.77(2)
  for all remaining class members in this action is $500,000, not 1 percent of Defendants’ net worth,
  because Defendants’ net worth is collectively more than $50 million. (Declaration ¶ 4).

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  with respect to a contract that contains a provision allowing attorney’s fees to a party when he or

  she is required to take any action to enforce the contract. See Fla. Stat. § 57.105(7). The FCCPA

  authorizes certain plaintiffs to recover “court costs and reasonable attorneys’ fees incurred” from

  any person who “fails to comply with any provision” of the FCCPA. See Fla. Stat. § 559.77(2).

  Although Defendants dispute whether Plaintiffs or the Putative Class are entitled to any such

  awards, and dispute that the statutes apply to the Plaintiffs’ or the Putative Class’ claims as a matter

  of fact or law, for purposes of removal, Plaintiffs’ assertion of a statutory right to attorneys’ fees

  is properly considered in ascertaining the amount in controversy. See, e.g., Sheffield Woods at

  Wellington Condo. Ass’n v. Scottsdale Ins. Co., 2009 WL 2255219, at *1 (M.D. Fla. July 28, 2009)

  (denying motion to remand, finding amount in controversy met based in part on potential for

  attorneys’ fees under Fla. Stat. § 627.428). Here, the possibility of attorneys’ fees simply swells

  the amount in controversy and further demonstrates that the CAFA amount in controversy

  requirement is clearly met here.

           32.   For all the foregoing reasons, it is evident that the $5 million CAFA amount in

  controversy requirement is satisfied.

           D.    The Exceptions to CAFA Do Not Apply Here

           33.   CAFA provides two mandatory exceptions to the application of federal jurisdiction

  (both of which the Eleventh Circuit has labeled the “local controversy exception”), and one

  discretionary exception. 28 U.S.C. § 1332(d)(3)-(4); see also Evans v. Walter Indus., Inc., 449

  F.3d 1159, 1163 (11th Cir. 2006) (discussing the “local controversy exception”); Gavron v.

  Weather Shield Mfg., 2010 WL 3835115, at *2-3 (S.D. Fla. Sept. 29, 2010). The burden of

  establishing the exceptions to CAFA rests not on Defendants, but rather on Plaintiffs as the non-

  removing parties. Evans, 449 F.3d at 1164 (“[W]hen a party seeks to avail itself of an express



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  statutory exception to federal jurisdiction granted under CAFA, as in this case, we hold that the

  party seeking remand bears the burden of proof with regard to that exception.”). In this case it is

  clear that none of these exceptions apply, and Plaintiffs could not possibly meet their burden of

  establishing any exception.

           E.    The Action is Properly Removed

           34.   Accordingly, because the CAFA prerequisites are met and none of the exceptions

  applies, this case is properly removable under CAFA.

           35.   The undersigned state that this removal is well-grounded in fact, warranted by

  existing law, and not interposed for any improper purpose.

           WHEREFORE, Defendants pray that this Court will consider this Notice of Removal as

  provided by law governing the removal of cases to this Court; that this Court will make the proper

  orders to achieve the removal of the State Court Action to this Court; and that this Court will make

  such other orders as may be appropriate to effect the preparation and filing of a true record in this

  cause of all proceedings that may have been had in the State Court Action.

  Dated: November 22, 2019.                     Respectfully submitted,

                                                AKERMAN LLP

                                                /s/ Marcy Levine Aldrich
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                                           Counsel for Defendants
                                           Twenty-One Eighty-Five, LLC and
                                           State Farm Bank, F.S.B.


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served via e-mail
  on November 22, 2019 upon the following:

   Robert W. Murphy, Esq.                       Cary I. Flitter, Esq.
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   Counsel for Plaintiff                        (Not yet admitted Pro Hac Vice)


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                                           E. Ginnette Childs, Esq.
                                           FBN 0298130




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